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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

LKQ Corporation, et al.
                                       Plaintiff,
v.                                                      Case No.: 1:21−cv−03167
                                                        Honorable Edmond E. Chang
Hyundai Motor America, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, December 1, 2021:


         MINUTE entry before the Honorable Edmond E. Chang: In light of the fully
briefed motion to dismiss for lack of personal jurisdiction [20] (and the embedded
alternative request for jurisdictional discovery), the tracking status hearing of 12/03/2021
is reset to 02/11/2022 at 8:30 a.m., but to track the case only (no appearance is required,
the case will not be called).Emailed notice(eec)




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